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                     March 18, 2021 DEA Letter
                           EXHIBIT E
  Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 2 of 12 PageID #:33
                                          LJ. S. Department of Justice
                                          Drug Enforcement Administration




www.dea.gov                                        March 18, 2021




CERTIFIE,D MAIL - RETURN RECEIPT REOUESTE,T)

Edward Johnson, Esq.
555 Jackson Boulevard
Suite 700
Chicago, IL 60661


RE:    Asset ID. No.:     20-DEA-66495 I
       Property:          $33 ,783.00 U.S. Currency
       Claimant:          Mary S. Wilson

Dear Mr. Johnsotr,

        The Drug Enforcement Administration (DEA), Asset Forfeiture Section, received your most
recent correspondence dated February 19,2021, regarding the above-referenced property. Please be
advised that your client's claim for the above-referenced property is being retumed because, as you
concede, it was received in this office after the September 25,2020 claim deadline. The claim
deadline was noted in the personal notice letter sent to your client. The DEA is unable to extend the
deadline to file a claim. 28 CFR 88.10.

       Your client previously exercised her due process rights in this matter and filed a petition for
remission or mitigation of forfeiture. You are hereby granted an additional 30 days from the date of
this letter to submit supplemental information to be considered as part of your client's petition. 28
cFR $e.3.

       If you elect to provide additional documentation, please send the documentation to the
Forfeiture Counsel, Asset Forfeiture Section, Drug Enforcement Administration, HQs Forfeiture
Response, 8701 Morrissette Drive, Springfield, Virginia 22152. Please include the DEA Asset ID
number referenced above. Correspondence will be deemed filed (or submitted) on the business date
it is actually received by the Forfeiture Counsel at the address listed above. Correspondence will not
be accepted nor considered filed on weekends or federal holidays, or when it is received by any
other office or official, such as a court, United States Attomey's Office, or local DEA office. In




                                                                                        EXHIBIT E
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                                                                                                Page 2

addition, documentation cannot be submitted by facsimile transmission. Finally, correspondence is
not considered filed or submitted on the date it is mailed or delivered to any person for delivery to
the Forfeiture Counsel.




                                                     Scott Hale
                                                     Senior Attorney
                                                     Asset Forfeiture Section

Enclosure
              Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 4 of 12 PageID #:35

                                                                                    U.S. Department of Justice

                                                                                    Drug Enforcement Admin istration




Mary S. Wilson
10527 South Michigan Avenue
Chicago, lL 60628


               NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                  ADMINISTRATIVE FORFEITU RE PROCEEDI NGS
                            SEIZED PROPERTY IDENTIFYING INFORMATION
            Notice Date: August 21 , 2020                  Asset lD Number: 20-DEA-664951
            Notice Letter   lD:   191887 (use lD when searching for assets during online filing)

            Description of Seized Property: $33,783.00 U.S. Currency

            Seizure Date and Location: The asset(s) referenced in this notice lefter were seized on June 25,2020 by
            the DEA at Chicaqo, lllinois.
            Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 21 USC 881 and the
            followino additionalfederal laws: 19 U.S.C. SS 1602-1619. 18 U.S.C. I983 and 28 C.F.R. Parts 8 and 9.

I.   THE GOVERNMENT MAY CONSTDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS
     ALL OR PART OF THE PROPERTY FROM THE FORFEITURE.

     TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

     A. What to Fite: You may file both a claim (see section ll below) and a Petition for Remission or Mitigation (Petition).
         lf you file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
     B. To File a Petition: A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial
        Delivery Service to the Drug Enforcement Administration (DEA), Forfeiture Counsel, Asset Forfeiture Section 8701
        Morrissette Drive, Springfield, VA 22152. lt must be received no later than 1 1:59 PM EST thirty (30) days of your
        receipt of this Notice. See 28 C.F.R. Parts 8 and 9.
     C. Requirements for Petition: The petition must include a description of your interest in the property supported by
        documentation and any facts you believe justify the return of the property and be signed under oath, subject to the
        penalty of perjury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. S
        1746.
     D. Petition Forms: A petition need not be made in any particular form but a standard petition form and the link to file
        the petition online are available at https://www.forfeiture.oov/FilinoPetition.htm. lf you wish to file a petition online for
        the assets referenced in the asset list of this letter, please use the Notice Letter lD referenced above.
     E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or
        bank records showing your interest in the seized property) to substantiate your petition.
     F. No Attorney Required: You do not need an attorney to file a petition. You may, however, hire an attorney to
        represent you in filing a petition.
     G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Forfeiture Counsel. The
         ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset Recovery Section, Criminal
         Division, Department of Justice. See 28 C.F.R. S 9.1.
     H. Regutations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
         available at www.forfeiture. qov.
     l. Penatties for Filing False or Frivolous Petitions: A petition containing false information may subject the
         petitionerto criminalprosecution under 18 U.S.C. S 1001 and 18 U.S.C. S 1621.
     J. Online Petition Exclusions: lf you cannot find the desired assets online, you must file your petition in writing at the
         address listed above. For more details regarding what assets can be petitioned online, please see the Frequently
         Asked Questions at https://www.forfeiture.qov/FilinoPetitionFAQs.htm.
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Mary S. Wilson                                              Notice of Seizure



II.   TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A
      CLAIM. lf you do not file a claim, you will waive your ight to contest the foieiture of the asset. Additionally, if no other
      claims are filed, you may not be able to contest the forteiture of this assef rn any other proceeding, ciminal or civil.

      A.   To File a Claim: A claim must be filed to contest the forfeiture. A claim should be filed online or by mailing it via
           the U.S. Postal Service or a Commercial Delivery Service to the DEA, Forfeiture Counsel, Asset Forfeiture Section
           8701 Morrissefte Drive, Springfield, VA22152.
      B.   Time Limits: A claim must be filed within 35 days of the date of this letter; therefore, you must file your claim by
           11:59 PM EST on September 25,2020. See 18 U.S.C. S 983(aX2). A claim is deemed filed on the date received
           by the agency at the address listed above.
      C.   Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your
           ownership or other interest in the property and be made under oath, subject to penalty of perjury or meet the
           requirements of an unsworn statement under penalty of perjury. See 18 U.S.C. S 983(aX2XC) and 28 U.S.C. S 1746.
      D.   Claim Forms: A claim need not be made in any particular form, but a standard claim form and the link to file the
           claim online are available at https://www.forfeiture.qov/FilinoClaim.htm. See 18 U.S.C. S 983(aX2XD). lf you wish to
           file a claim online for the assets referenced in the asset list of this letter, please use the Notice Letter lD referenced
           above.
      E.    Supporting Evidence: Although not required, you may submit supporting evidence (for example, title papenrork or
            bank records showing your interest in the seized property) to substantiate your claim.
      F.    No Attorney Required: You do not need an attorney to file a claim. You may, however, hire an attorney to
            represent you in filing a claim.
      G.    When You File a Claim: A timely claim stops the administrative forfeiture proceeding. The seizing agency
            fonrards the timely claim to the U.S. Attorney's Office for further proceedings. You may also file a petition for
            remission or mitigation.
      H.    Penalties for Filing False or Frivolous Claims: lf you intentionally file a frivolous claim you may be subject to a
            civil fine. See 18 U.S.C. S 983(h). lf you intentionally file a claim containing false information, you may be subject to
            criminalprosecution. See 18 U.S.C. S 1001.
      l.    lf No Claim is Filed: Failure to file a claim by 11:59 PM EST on September 25,2020 may result in the property
            being forfeited to the United States.
      J.    Online Claim Exclusions: lf you cannot find the desired assets online, you must file your claim in writing and send
            to the address listed above. For more details regarding what assets can be claimed online, please see the
            Frequently Asked Questions at https://www.forfeiture.oov/FilinoClaimFAQs.htm.

III. TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
      A.   Hardship Release: Upon the filing of a proper claim, a claimant may request release of the seized property during the
           pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.C.
           983(f); 28.C.F.R. S 8.1 5.
      B.   To Fite Hardship Release: The hardship request cannot be filed online and must be in writing. The claimant must
           establish the following:
             . Claimant has a possessory interest in the property;
             . Claimant has sufficient ties to the community to assure that the property will be available at the time of trial;
                and
            .  Government's continued possession willcause a substantial hardship to the claimant.
      C.   Regulations for Hardship: A complete list of the hardship provisions can be reviewed at 18 U.S.C. S 983(0 and 28
           C.F.R. S 8.15. Some assets are not eligible for release.




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                   Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 6 of 12 PageID #:37

                             Eowano JorrusoN & AssocrATEs P.C.
                                             555 W. JACKSON BLVD. SUITE TOO,CHICAGO, IL 6066I
                                   Orc: 708.606.4386   -   WWW.EDWARDJOHNSONLAW.COM   -   Fnx: 708.526.9837


     -        Linda Rannazzisi
    --        Drug Enforcement Administration
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              Forfeiture Counsel                                                                              c:,
              Asset Forfeiture Section                                                                        t:
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              8701 Morrissette Drive                                                                          r7l
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              Springfield, VA 22152                                                                           t\)
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              FebruTy 19,2021                                                                                 -(,
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              Dear Forfeiture                                                                                 crt
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                      We are contracting you on behalf of Mary S. Wilson. Ms. Wilson has a legally recognizable
              claim to $33,783.00 U.S. Currency, SN' ***r seized by the DEA on June 25, 2020, in Chicago,
              IL. Asset ID: 20-DEA-664951. Ms. Wilson received notice of seizure of property and initiation of
              administrative forfeiture proceedings on August2l,2020. Ms. Wilson contacted our office and we
              filed a petition for remission on September 18,2020. This was a mistake, we intended to file a
              sufficient claim for Ms. Wilson in order to preserve her right to contest the forfeiture of her
              property. COVID-l9 has disrupted the practice of law and we appreciate your cooperation with
              the unprecedented deldls encumbering the legal system.

                     Pursuant to l8 U.S.C. $ 983(a)(2XB) a mlid claim must be filed by the deadline indicated
              in the original notice, which is no later than 35 days after the date of the notice letter. We
              understand that this most recent claim is defectiveo however, we ask that you consider Ms.
              Wilson's due process rights in contesting the forfeiture of her property. Our office was timely in
              asserting Ms. Wilson's right, however, we filed the wrong form. Upon review of Ms. Wilson's
              case materials we discovered this error, and now we wish to promptly correct this error and give
              Ms. Wilson a fair opportunity to contest the forfeiture. We are contacting you on the day this error
              was discovered.

                     We understand that addressing the timeliness or content of a claim requires balancing
              multiple competing interests. On the one hand, we acknowledge the importance of statutory
              requirements, but rve ask you to thoroughly consider Ms. Wilson's right to contest the
              government's forfeiture of her property. Ms. Wilson should not be punished for this filing error.
              Should your office reject the attached claim as defective, and issue an administrative forfeiture
              declaration, we would appreciate receiving that information as soon as possible. In order to protect
              Ms. Wilsons' rights and interests, we will then have to seek federal district court intervention in
              the form of a motion to set aside the administrative declaration under 18 U.S.C. $ 983(e). Please
              contact our office by phone or email if you        any questions. We appreciate your cooperation
              regarding this matter.

              Very truly yours,

              Edward Johnson
                                                                  708.606 .4386
                  Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 7 of 12 PageID #:38
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         YOU MUST COMPLETE ALL PARTS OF THIS FORM FOR THE ASSETS YOU ARE CLAIMING.

         Note: There is no legal form or format required for filing a claim; this document is provided for your convenience.
         Please visit httos://www.forfeiture.oov/FilinqClaim.htm for more specific guidance on filing your claim with the
         appropriate seizing agency.

         Frivolous Claim Statement: lf a court finds that a claimant's assertion of an interest in property was frivolous, the
         court may impose a civil fine. Title 18 United States Code, Subsection 983(h). A false statement or claim may subject
         a person to criminal prosecution under Title 18 United States Code, Sections 1001 and 1621.

        Privacy Act Notice: The Department of Justice is collecting this information for the purpose of processing your claim.
        Providing this information is voluntary; however, the information is necessary to process your application. lnformation
        collected is covered by Privacy Act System of Records Notice Department of Justice (DOJ), DOJ-OO2-DOJ Computer
        Systems Activity & Access Records, Federal Register (71 FR 29170). This information may be disclosed to contractors
        when necessary to accomplish an agency function, to law enforcement when there is a violation or potential violation
        of law, or in accordance with other published routine uses. For a complete list of routine uses, see the system of
        records notice listed above.




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        Standard Claim Form                                February 79,2021                                                Page 1
                 Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 8 of 12 PageID #:39
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                                                 SECTION        I- CONTACT INFORMATION
                                                                           INFORMATION
           ClaimanUContact Name: (Last, First)
           WILSON, MARY
           Business/!nstitution Name: (if applicable)                             Prisoner !D. (if applicable)

           Address: (lnclude Street, City, State, and Zip Code)

           10527 SOUTH MICHIGAN AVE.
           CHICAGO IL 60628
           Social Security Number/Tax ldentification Number: (Enter N/A if you do not have one)
           323-90-1 939
           Please provide an explanation why you do not have a Social Security Number, if above is N/A:



           Phone: (optional)                                                      Email: loptional)

                                                      ATTORNEY INFORII IATION (if applicable)
           Attorney Name: (Last, First)
           JOHNSON
           Attorney Title:
           MR.
           Firm Name (if applicable)
           EDWARD JOHNSON & ASSOCIATES, P.C
           Aftorney Address: (lnclude Street, City, State, and Zip Code)

           555 W. JACKSON BLVD. STE             7OO
           CHICAGO, IL 60661
           Are vou an attornev filing this claim on behalf of vour client? XYES trNO
           Attorney Phone: (optional)                              Attorney Email: (optional)
           708-606-4396                                               i nfo@edwardj oh n son law. com

         lf any of this information changes, you are responsible for notifying the agency of the new information


                                                           SECTION II - ASSET LIST
         Lisf each assef lD and assef description that you are claiming.

           #      Asset ID                             Asset
           1      20-DEA-664951                        $33,783.00 U.S. Currency, SN' **** Seized by DEA on June 25,2020 in
                                                       Chicago, lL.




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         Standard Claim Form
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                                                               February 79,202L                                                         Page 2
                Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 9 of 12 PageID #:40
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                                              SECTION       III-   INTEREST IN PROPERTY

         ldentify your interest in each of the assefs you are claiming. lf you are filing for multiple assefs and the responses
         are not the same for each assef, p/ease pint out multiple copies of this page to submit with the claim. lf you have
         documentation that supports your interest in the claimed assets (e 9., bill of sale, retail installment agreements,
         contracts, titles or moftgages), p/ease include coples of the documents with the submiss ion of the claim.

                                               INTEREST IN PROPERTY INFORMATION
           Asset lD               Asset Description
           20-DEA-664951                                        **** Seized bv DEA on June 25.2020 in Chicaqo. lL.
                                  $33,783.00 U.S. Currencv, SN:



         ln the space below, please explain why you have a valid, good faith, and legatly recognizable interest in this
         asset:

         I have a valid, good faith, and legally recognizable interest in the money seized. This is money I have made over my
         time in the entertainment business. All of this money is my life savings.




          ln the space below, please list any documents you are including in support of your interest in the asset(s). tf
          none are included, please explain why.

          These documents were seized by the investigative agency.




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          Standard Claim Form                               February 19,2021                                                         Page 3
              Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 10 of 12 PageID #:41
DoctSign Envelope lD. 70A11 eEA-c B s44   AEilO   }2E253AC F578
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                                                  SECTION     IV-   RECOVERY OF LOSS
       Complete this secflon for assets you have recovered all or a portion of your losses either via an insurance claim and/or
       via some other source of recovery. lf you have more recovery of loss information than may fit on this page, print out
       multiple coprbs of this page to attach with the claim and indicate whrbh assets apply to each page. lf you have not
       received any recovery of your losses, then leave this section blank.

                                                   RECOVERY OF LOSS INFORMATION
        Asset lD                            Asset Description




        Name of lnsured: (Last, First)

        Policy Number:                                                     Claim Number:

        Name of lnsurance Company:                                         Name of lnsurance Agent: (Last, First)

        lnsurance Company Address: (lnclude Street, City, State, ?h d Zip Code)



        Phone: (optional)                                                  Email: (optional)

        Have you received compensation from the insurance                  Amount of Compensation
        company? trYES                    trNO


       lf other sources of recovery exist (e.9., restitution, returns on investment or other settlements), please list and
       describe the details below.
                                              OTHER SOURCE(S) OF RECOVERY (if applicable)
        Source of Recovery       1                                                                 Amount of Recovery:

        Source of Recovery       2                                                                 Amount of Recovery:


       ln the space below, please list any documents you are including in support of your claim of recovery of Ioss. If
       none are included, please explain why.




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         Standard Claim Form                                February 79,2O2\                                                    Page 4
                  Case: 1:21-cv-01955 Document #: 1-5 Filed: 04/12/21 Page 11 of 12 PageID #:42
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                                                           SECTION V - DECLARATION

             The following declaration must be completed by the claimant.

                I attest and declare under penalty of perjury that my claim is not frivolous and the information provided in support
             of my claim is true and correct to the best of my knowledge and belief.


                                                                                                                         by:



                                                                                                             r*;,{ Vv             Sig natu re

                                                                                                                         MARY WILSON

                                                                                                                               Printed Name

                                                                                                                                  2-19-2021

                                                                                                                                        Date




             lf a court finds that a claimant's assertion of an interest in property was frivolous, the court may impose a civil fine.
             Title 18 United States Code, Subsection 983(h). A false statement or claim may subject a person to criminal
             prosecution underTitle 18 United States Code, Sections 1001 and 1621.




             Standard Claim Form                                 February 79, 2027                                                   Page 5
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                  SHIhTB:A
                           RAN NAZZISI FO RFEITU RE COU NSEL
                     DEA ASSET FO RFETTU R E SECTIO N
                     8701 MORRISSETTE DRIVE
                     SPRINGFIELD VA 22152                         l>




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